               Case 1:16-cr-02023-WFN                     ECF No. 204              filed 11/17/16         PageID.744 Page 1 of 7
 OAO 245B      (Rev. 11/16) Judgment in a Criminal Case                                                                                FILED IN THE
                                                                                                                                   U.S. DISTRICT COURT
                Sheet 1 Revised by WAED - 11/16                                                                              EASTERN DISTRICT OF WASHINGTON




                                              UNITED STATES DISTRICT COURT                                                    Nov 17, 2016
                                                   Eastern District of Washington
                                                                                                                                  SEAN F. MCAVOY, CLERK




           UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                      V.
                     JAIMEE L KLANG                                         Case Number:            1:16CR02023-RMP-2

                                                                            USM Number:             19943-085

                                                                                  Amanda J Stevens
                                                                            Defendant’s Attorney




 THE DEFENDANT:

 ✔pleaded guilty to count(s)
 G                                     1 of the Indictment
 G pleaded nolo contendere to count(s)
    which was accepted by the court.
 G was found guilty on count(s)
    after a plea of not guilty.

 The defendant is adjudicated guilty of these offenses:

  Title & Section                           Nature of Offense                                                                     Offense Ended Count
21 U.S.C. §§ 841(a)(1),                   Conspiracy to Distribute Methamphetamine                                                   03/11/16    1
   (b)(1)(A)(viii), and 846




        The defendant is sentenced as provided in pages 2 through                      7      of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 G The defendant has been found not guilty on count(s)
 ✔Count(s) 4 and 5 of the Indictment
 G                                                                  G is    ✔
                                                                            G are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
 the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                              11/16/2016
                                                             Date of Imposition of Judgment




                                                             Signature of Judge



                                                             Honorable Rosanna Malouf Peterson                  Judge, U.S. District Court
                                                             Name and Title of Judge


                                                                                                   11/16/2016
                                                             Date
                Case 1:16-cr-02023-WFN                   ECF No. 204            filed 11/17/16       PageID.745 Page 2 of 7
AO 245B       (Rev. 11/16) Judgment in Criminal Case
              Sheet 2 — Imprisonment

                                                                                                          Judgment — Page   2       of   7
DEFENDANT: JAIMEE L KLANG
CASE NUMBER: 1:16CR02023-RMP-2


                                                                IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of:         42 month(s)




     ✔ The court makes the following recommendations to the Bureau of Prisons:
     G
 The Court recommends defendant be given the opportunity to participate in drug treatment programs and mental health programs while
 she is incarcerated.



     ✔ The defendant is remanded to the custody of the United States Marshal.
     G

     G The defendant shall surrender to the United States Marshal for this district:
          G     at                                     G a.m.     G p.m.        on                                              .

          G     as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G     before 2 p.m. on                                            .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                            to

at                                                      , with a certified copy of this judgment.



                                                                                                       UNITED STATES MARSHAL


                                                                             By
                                                                                                    DEPUTY UNITED STATES MARSHAL
               Case 1:16-cr-02023-WFN                  ECF No. 204      filed 11/17/16        PageID.746 Page 3 of 7
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3 — Supervised Release
                                                                                                        Judgment—Page   3    of        7
DEFENDANT: JAIMEE L KLANG
CASE NUMBER: 1:16CR02023-RMP-2
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :           5 year(s)




                                                      MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance, including marijuana, which remains illegal under federal law.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
               pose a low risk of future substance abuse. (check if applicable)
4.    G You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
      ✔
5.     G You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
         are a student, or were convicted of a qualifying offense. (check if applicable)
6.     G You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3A — Supervised Release
                                                                                               Judgment—Page        4         of        7
DEFENDANT: JAIMEE L KLANG
CASE NUMBER: 1:16CR02023-RMP-2

                                       STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must be truthful when responding to the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
 9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If this judgment imposes restitution, a fine, or special assessment, it is a condition of supervised release that you pay in accordance
      with the Schedule of Payments sheet of this judgment. You shall notify the probation officer of any material change in your economic
      circumstances that might affect your ability to pay any unpaid amount of restitution, fine, or special assessments.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date
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AO 245B    (Rev. 11/16) Judgment in a Criminal Case
           Sheet 3D — Supervised Release
                                                                                                       Judgment—Page      5     of        7
DEFENDANT: JAIMEE L KLANG
CASE NUMBER: 1:16CR02023-RMP-2

                                         SPECIAL CONDITIONS OF SUPERVISION
 1. You shall complete a mental health evaluation and follow any treatment recommendations of the evaluating professional which do
 not require forced or psychotropic medication and/or inpatient confinement, absent further order of the court. You shall allow
 reciprocal release of information between the supervising officer and treatment provider. You shall contribute to the cost of treatment
 according to his ability to pay.

 2. You shall undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
 successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
 further order of the court. You shall contribute to the cost of treatment according to your ability to pay. You shall allow full reciprocal
 disclosure between the supervising officer and treatment provider.

 3. You shall abstain from the use of illegal controlled substances, and shall submit to urinalysis and sweat patch testing, as directed by
 the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

 4. You shall submit your person, residence, office, vehicle and belongings to a search, conducted by a probation officer, at a sensible
 time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision. Failure to
 submit to search may be grounds for revocation. You shall warn persons with whom you share a residence that the premises may be
 subject to search.
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AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 5 — Criminal Monetary Penalties
                                                                                                              Judgment — Page       6    of        7
 DEFENDANT: JAIMEE L KLANG
 CASE NUMBER: 1:16CR02023-RMP-2
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                   JVTA Assessment*                      Fine                        Restitution
 TOTALS            $         $100.00            $          $0.00                      $          $0.00            $
                                                                                                                                $0.00


 G The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

     Name of Payee                                                              Total Loss**             Restitution Ordered      Priority or Percentage




                                                                   0.00                                       0.00
 TOTALS                               $                                           $


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the            G fine         G restitution.
       G the interest requirement for the           G fine         G      restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
AO 245B       Case
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                        Judgment in a Criminal Case    ECF No. 204          filed 11/17/16        PageID.750 Page 7 of 7
           Sheet 6 — Schedule of Payments

                                                                                                         Judgment — Page      7     of       7
DEFENDANT: JAIMEE L KLANG
CASE NUMBER: 1:16CR02023-RMP-2

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A    ✔ Lump sum payment of $
     G                                      100.00          due immediately, balance due

          G      not later than                                  , or
          ✔
          G      in accordance          G C,         G D,   G      E, or    ✔ F below; or
                                                                            G
B    G    Payment to begin immediately (may be combined with               G C,      G D, or     G F below); or
C    G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    ✔ Special instructions regarding the payment of criminal monetary penalties:
     G
     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the peroid of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the following address until monetary penalties are paid in full: Clerk, U.S. District
Court, Attention: Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and
court costs.
